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                SETTLEMENT AGREEMENT AND RELEASE OF CLAIMS

        This Settlement Agreement and Release of Claims (“Agreement”) is between and among
Plaintiffs (identified in the individual Settlement Release Forms, which are incorporated herein)
and Defendant Schlumberger Technology Corporation (“STC” or “Defendant”) (collectively
“Parties”).

                                             RECITALS

        WHEREAS, Plaintiffs Chris Elliott, Raymond Genta, Richard Largent, Marc Piazza, and
Kenly Hunter filed a lawsuit in the United States District Court for the District of North Dakota,
Eastern Division, on September 23, 2013, alleging violations of the Fair Labor Standards Act of
1938, as amended, 29 U.S.C. § 201 et seq. (the “FLSA”) and Title 34 of the North Dakota Century
Code, that was styled Chris Elliott on behalf of himself and on behalf of all others similarly situated
v. Schlumberger Technology Corporation and Schlumberger Limited (Schlumberger N.V.), Case
No. 3:13-cv-00079-RRE-ARS ("the Lawsuit"). Raymond Genta subsequently withdrew his
consent from the Lawsuit on November 15, 2016, and is not a party to this Agreement.

       WHEREAS, all Plaintiffs (defined below) filed consents with the Court to join the Lawsuit.

       WHEREAS, STC denies any and all wrongdoing, liability, or damages to anyone with
respect to the alleged facts or causes of action asserted in the Lawsuit. Nonetheless, without
admitting or conceding any liability or damages whatsoever, STC has agreed to settle the Lawsuit
on the terms and conditions set forth in this Agreement to avoid the burden, expense, and
uncertainty of continuing the Lawsuit.

        WHEREAS, Plaintiffs’Counsel (defined below) represents that they have conducted a
thorough investigation into the facts of the Lawsuit and evaluated the merits of the claims made in
the Lawsuit and the impact of this Agreement on Plaintiffs. This has included an evaluation of
potential damages in the event liability is found. Based upon Plaintiffs’Counsels’analysis and
evaluation of a number of factors, and recognizing the substantial risks of continued litigation,
including the possibility that the Lawsuit, if not settled now, might not result in any recovery
whatsoever for Plaintiffs or might result in a recovery that is less favorable to Plaintiffs, Plaintiffs’
Counsel is satisfied that the terms and conditions of this Agreement are fair, reasonable, and
adequate and that this Agreement is in the best interest of Plaintiffs.

       WHEREAS, Plaintiffs understand and agree that the above Recitals are incorporated by
reference and are true and a material part of this Agreement.

        NOW, THEREFORE, in consideration of the mutual covenants, promises, and definitions set
forth in this Agreement, as well as the good and valuable consideration provided for herein, which
is full and adequate consideration for this Agreement, the Parties hereto agree to a full and
complete settlement of the Lawsuit on the following terms and conditions:




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1.     DEFINITIONS

       For the purposes of this Agreement, the following words and terms shall be defined to have
the meanings set forth below.

       1.1    Court means the United States District Court for the District of North Dakota,
              Eastern Division.

       1.2    Effective Date means the first business day following the date the Court dismisses
              the matter with prejudice and the satisfaction of the conditions set forth in Section
              4.1.

       1.3    Final Approval Order means the Order to be entered by the Court approving this
              Agreement without modification, or as modified by the Court with the Parties'
              consent, or as modified by agreement of the Parties dismissing the Lawsuit with
              prejudice, with each party bearing its own costs and fees.

       1.4    Defendants’ Counsel means The Kullman Firm and The Vogel Law Firm,
              including Samuel Zurik III, Robert P. Lombardi, Jessica L. Marrero, Bryan E.
              Bowdler, M. Daniel Vogel, and Robert Stock.

       1.5    Parties mean Plaintiffs and STC.

       1.6    Plaintiffs mean Chris Elliott, Richard Largent, Marc Piazza, Kenly Hunter, and the
              one-hundred thirty (134) opt-in plaintiffs identified in the Motion to Certify Class
              for Settlement Purposes Only, and their agents, representatives, assignees, heirs,
              executors, administrators, beneficiaries, and trustees.

       1.7    Plaintiffs’Counsel means The Wilking Law Firm and Kennedy Hodges, LLP,
              including Leo F.J. Wilking, Don J. Foty, and Galvin B. Kennedy.

       1.8    Released Claims mean any wage and hour claim of any type of any between
              Plaintiff and the Released Parties (defined below), including without limitation any
              claim under the FLSA or any state or local law pertaining to wages or wage
              payments, and any other claim for any type of wages. These claims specifically
              include any and all claims for unpaid overtime wages, underpayment of wages,
              nonpayment of wages, bonuses, incentive compensation of any type, or any and all
              other types of compensation, hours of work, rest, meal, travel, shift or break time
              claims, liquidated or other damages, costs, penalties, interest, attorneys’ fees,
              litigation expenses (both those incurred to date and those still to be incurred in
              resolving this dispute), expert costs, restitution, or other compensation and relief
              arising under the FLSA, any other federal, state, or local law pertaining to the
              payment of wages. Except for Plaintiffs Chris Elliott, Richard Largent, Marc
              Piazza, and Kenly Hunter, this release does preclude an award of any incidental
              damage claims for lost wages arising out of a cause of action other than a wage and
              hour claim. It further includes any and all other claims and damages of any type



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              which have arisen, could have arisen or could arise between Plaintiffs Chris Elliott,
              Richard Largent, Marc Piazza, and Kenly Hunter and the Released Parties related
              to their employment with the Released Parties, the cessation of their employment
              with the Released Parties and/or from any actions or inactions that occurred at any
              time up to the time and date that Plaintiffs Chris Elliott, Richard Largent, Marc
              Piazza, and Kenly Hunter sign their Settlement Release Form, including without
              limitation those prior to their employment, during their employment, and after their
              employment.

       1.9    Released Parties means STC and its past, present, and future parents, d/b/a’s, joint
              ventures, divisions, subsidiaries, partnerships, affiliates, successors, successors in
              interest, asset purchasers, assigns, predecessors, and other related entities (whether
              or not they are wholly owned), including but not limited to MI, LLC together with
              the directors, officers, board of directors, owners, lessees, managers, shareholders,
              underwriters, insurers, re-insurers, employees, agents, assigns, and attorneys of any
              of them.

        1.10 Settlement Amount means the gross amount of One Million Three-Hundred Fifty
             Thousand Dollars ($1,350,000.00), which includes without limitation any and all
             wage and non-wage based relief, any damages, including, but not limited to, all
             back pay, liquidated damages, incentive awards for Chris Elliott, Richard Largent,
             Marc Piazza, and Kenly Hunter, and all attorneys’ fees, expenses and costs,
             including but not limited to any amounts due or potentially due pursuant to the
             Order on Report and Recommendation (Doc. 411) and any administrative costs and
             expert fees. The Settlement Amount does not include the employer’s share of
             payroll taxes which will be paid separately by STC. The Settlement Amount will
             be distributed by STC through Plaintiffs’Counsel in accordance with the terms and
             conditions of this Agreement.

2.     SETTLEMENT PAYMENTS AND OTHER RELIEF

       2.1    Attorneys’Fees and Costs

              a.     After satisfaction of all conditions, a portion of the Settlement Amount will
                     be paid by STC to Plaintiffs’Counsel satisfying any and all claims to
                     attorneys’fees, experts’fees, administrative costs, expenses, other costs,
                     relief, damages and any and all other amounts incurred on Plaintiffs’behalf.
                     Plaintiffs’Counsel has determined this portion to be Six-Hundred Seventy-
                     Five Thousand Dollars ($675,000.00), which includes two hundred twenty
                     eight thousand four hundred and fifty seven Dollars and one cent
                     ($228,457.01) in reasonable and necessary expenses/costs. This payment
                     will be made payable to Kennedy Hodges, LLP. If this amount is reduced
                     by the Court for any reason, the reduced amount will be distributed to
                     Plaintiffs on a pro rata basis.




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        b.     This payment will be made within ninety (90) days of: (1) the Court’s
               approval of the Agreement, or (2) the date when 50% of all Plaintiffs have
               accepted their share of the Settlement Amount by executing their respective
               Settlement     Release Forms, W-9s, and W-4s and delivering such forms
               to Defendants’Counsel, whichever occurs earlier, as long as the Agreement
               has been approved by the Court.

        c.     This amount shall be reported on an IRS form 1099 for Kennedy Hodges,
               LLP and for Plaintiffs.

        d.     Beyond this amount, the Released Parties shall not have any additional
               liability for any other attorneys’fees, expenses or costs, including, without
               limitation, any administrative costs and expert fees.

  2.2   Payment to Plaintiffs. Absent additional pro rata disbursements identified and
        provided for in Section 2.1, the maximum payment to Plaintiffs shall be Six-
        Hundred Seventy-Five Thousand Dollars ($675,000.00), not to include the
        employer’s share of payroll taxes which will be paid separately by STC. The Six-
        Hundred Seventy-Five Thousand Dollars ($675,000.00), to the extent it is
        disbursed, will be paid as follows:

        a.     Incentive Award. Chris Elliott, Richard Largent, Marc Piazza, and Kenly
               Hunter, in addition to any amount allocated to them pursuant to Section
               2.2(b), are eligible to receive an incentive award as determined by
               Plaintiffs’ Counsel, not to exceed Thirty-Six Thousand Dollars
               ($36,000.00) in the aggregate. Any incentive award will be included in
               the amount on the form 1099 issued to Chris Elliott, Richard Largent,
               Marc Piazza, and Kenly Hunter. If an incentive award is not approved or
               is reduced by the Court, that amount shall be redistributed among the
               remaining Plaintiffs on a pro rata basis.

        b.     Settlement Funds. The remaining Six-Hundred Thirty-Nine Thousand
               Dollars ($639,000.00) will be distributed among all Plaintiffs as
               determined by Plaintiff’s Counsel, subject to approval by STC, which
               shall be finalized by the Parties prior to submission of this Agreement to
               the Court. Payment shall be made in two checks of equal (gross) amounts,
               one representing wage payments subject to withholding, and the other
               representing non-wage payments for which no taxes will be withheld.

        c.     Date of Payment. STC will mail each Plaintiff’s share of the Settlement
               Amount under this Agreement directly to Kennedy Hodges, LLP, within
               the later of: (1) forty-five (45) days after delivery to STC’s Counsel of the
               Plaintiff’s form W-9s, W-4s, and signed Settlement Release Form, or (2)
               thirty (30) days after the Court approves the Agreement.




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        d.     Rescission. If a Plaintiff fails to execute and return to STC a form W-9,
               form W-4, and Settlement Release Form within ninety (90) days of
               approval of this Agreement by the Court, said Plaintiff’s portion of the
               Settlement Amount will revert to STC.

  2.3   Taxability of Settlement Payments

        a.     Plaintiffs acknowledge and agree that they have not relied upon any advice
               whatsoever from STC and/or Defendants’Counsel as to any provision of
               this Agreement, or as to the taxability, whether pursuant to Federal, State or
               local income or employment tax statutes or regulations or otherwise, of the
               Settlement Amount, action taken, or consideration transferred hereunder
               and that Plaintiffs will be solely liable for all tax obligations associated with
               those payments. Plaintiffs hereby waive, release, forever discharge and
               agree to indemnify, defend, and hold the Released Parties harmless with
               respect to any actual or potential tax obligations, claims, demands,
               deficiencies, levies, assessments, executions, judgments or recoveries by
               any governmental entity against the Released Parties for any amounts
               claimed due as a result of this Agreement or pursuant to claims made under
               Federal or State tax laws, except as provided for herein, and any costs,
               expenses or damages sustained by the Released Parties by reason of such
               claims including without limitation any amounts paid by the Released
               Parties as taxes, attorneys’fees, deficiencies, levies, assessments, fines,
               penalties, interest or otherwise. However, prior to incurring attorney’s fees
               and costs in defense of the matter, Released Parties will present the claim
               to Plaintiffs. In the event that Plaintiffs are not able to resolve the matter,
               the cost of defense will be part of the indemnity.

               In accordance with the provisions of Sections 2.2 and 2.3(a), payment of all
               amounts described in this Agreement will be subject to tax withholdings
               and/or reporting to the extent required by law. As with the non-wage
               portions of each Plaintiff’s respective share of the Settlement Amount, the
               incentive award payments to Chris Elliott, Richard Largent, Marc Piazza,
               and Kenly Hunter will be treated as form 1099 payments. All of the other
               payments that are issued to Plaintiffs shall reflect all applicable
               withholdings made known at the time and subject to the provisions of
               Section 2.3(a) above. STC shall deduct any withholdings or taxes or
               payments to governmental authorities, on behalf of Plaintiffs and STC,
               associated with payments pursuant to this Agreement.

  2.4   No Further Obligation. Plaintiffs, Plaintiffs’ Counsel, and STC agree and
        acknowledge that the Settlement Amount referenced in Section 1.10 of this
        Agreement and employer tax contributions referenced in Section 2.2 of this
        Agreement represents the Released Parties’maximum financial obligations under
        this Agreement. Plaintiffs, Plaintiffs’ Counsel, and STC further agree and
        acknowledge that the Released Parties shall have no further monetary obligation



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             whatsoever, including but not limited to any monetary obligations with respect to
             Plaintiffs, Plaintiffs’Counsel, the Lawsuit or liens of any type.

3.     PAYMENT ADMINISTRATION

       3.1   Payment Process. STC will mail Plaintiffs’and Plaintiffs’Counsels’respective
             portions of the Settlement Amount under this Agreement directly to Don Foty,
             Kennedy Hodges, LLP, 4409 Montrose Blvd., Suite 200, Houston, Texas, 77006,
             within the time periods delineated in Section 2.2(c) of this Agreement.

       3.2   Uncashed Checks. If a Plaintiff executes and delivers to STC a W-9, W-4, and
             Settlement Release Form, but for whatever reason the check representing his or her
             portion of the Settlement Amount remains uncashed, the amount of the check will
             be deposited in the unclaimed funds division of the particular state for said Plaintiff.

4.     CONDITIONS OF SETTLEMENT

       4.1   Conditions of Settlement. This Agreement is expressly conditioned on and subject
             to each of the following conditions:

             a.     The Court enters the Final Approval Order and the Lawsuit is dismissed
                    with prejudice with each side bearing its own costs and fees; and

             b.     The Effective Date shall have occurred.

5.     RELEASE OF CLAIMS

       5.1   Release. As of the Effective Date, Plaintiffs and their heirs, executors,
             administrators, estates, predecessors-in-interest, predecessors, successors-in-
             interest, successors, attorneys’, legal representatives, and assigns, fully, finally and
             forever release, settle and discharge the Released Parties from and with respect to
             the Released Claims and are forever barred and enjoined from commencing,
             instituting or prosecuting any action or other proceeding, in any forum, asserting
             any of the Released Claims against any of the Released Parties.

6.     MISCELLANEOUS PROVISIONS

       6.1   Non-Disparagement. Plaintiffs and Plaintiffs’Counsel hereby agree not to make
             any disparaging statements to the media or to any other third party about the
             Released Parties, and Plaintiffs and Plaintiffs’Counsel agree not to contact media,
             or respond to media, regarding the fact of this Agreement, the terms of the
             Agreement or the amount of this Agreement or undertake any affirmative efforts to
             generate media coverage, Internet postings, or any other publicity concerning this
             Agreement or the resolution of the Lawsuit. Plaintiffs and Plaintiffs’Counsel shall
             issue no press release, publication, or make any other public statement concerning
             this Agreement or the resolution of this Lawsuit. A neutral reference (employment



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         verification) will be provided to any current or prospective employer who properly
         submits a written request via email to NAMvoe@SLB.com, providing the
         employee’s full name, GIN, last four digits of SSN, written authorization by the
         employee to disclose the information, and return email address.

  6.2    No Third-Party Beneficiaries. Except as specifically provided herein, this
         Agreement shall not be construed to create rights in, or to grant remedies to or
         delegate any duty, obligation or undertaking established herein, to any third party
         as a beneficiary of this Agreement.

  6.3    Affirmations. Plaintiffs affirm that they have carefully read this Agreement. They
         affirm that they possess sufficient education and/or experience to understand fully
         the extent and impact of its provisions. They affirm that they are fully competent
         to execute this Agreement, are over the age of 21, have no incapacity or condition
         of any type that would prevent them from understanding or executing this
         Agreement, and that they execute this Agreement knowingly, voluntarily and
         without any coercion, undue influence, threat, or intimidation of any kind or type.

  6.4    Necessary Actions. Plaintiffs, Plaintiffs’Counsel, and STC shall take all necessary
         actions to secure entry of the Final Approval and Dismissal Order by the Court and
         dismissal of the Lawsuit with prejudice with each side bearing its own costs and
         fees.

  6.5    Deadlines. If any deadline set forth in this Agreement falls on a Saturday, Sunday
         or legal holiday, that deadline shall be continued to the next business day.

  6.6    Headings. The headings in this Agreement are solely for the convenience of the
         attorneys for the Parties and the Court. The headings shall not be deemed to be a
         part of this Agreement and shall not be considered in construing or interpreting this
         Agreement.

  6.7    Choice of Law. This Agreement shall be construed and interpreted in accordance
         with the laws of the State of Texas.

  6.8    Venue. Venue for any action arising out of or in connection with this Agreement
         shall exclusively rest in the federal or state court having jurisdiction over Fort Bend
         County, Texas.

  6.9    Interpretation. In the event that anyone is called upon to interpret this Agreement,
         no one party shall be deemed to have drafted this Agreement.

  6.10   Assignment. This Agreement shall be binding upon, and inure to the benefit of the
         Released Parties and Plaintiffs as Released Parties and Plaintiffs are defined herein.

  6.11   Entire Agreement. This Agreement, including the Settlement Release Forms,
         embodies the entire agreement and understanding of the Parties hereto with regard



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              to the matters described herein and supersedes any and all prior and/or
              contemporaneous agreements and understandings, written and oral, between the
              Parties.

       6.12   Amendment to Agreement. Any amendment to this Agreement must be in writing
              signed by a duly authorized representative of each Party and stating the intentions
              of the Parties to amend this Agreement.

       6.13   Non-Waiver. Any Party’s failure to enforce this Agreement in the event of one or
              more events that violate this Agreement shall not constitute a waiver of any right
              to enforce this Agreement or against subsequent violations.

       6.14   Executed in Counterparts. This Agreement may be executed in counterparts, each
              of which may be a separate document, and all of which together shall be deemed
              and considered an original of this Agreement. The Parties hereto agree to accept
              facsimile or electronic submission of copies of Settlement Release Forms as and in
              place of originals.

       6.15   No Admission of Liability. Neither this Agreement, the Settlement Release Forms
              nor the terms of the Agreement and Settlement Release Forms are evidence, or a
              presumption, admission or concession by any Party, any signatory hereto, or any of
              the Released Parties, of any fault, liability, or wrongdoing whatsoever, or lack of
              any fault, liability, or wrongdoing, as to any facts or claims alleged or asserted in
              the Lawsuit, or any other action or proceedings. Neither this Agreement, the
              Settlement Release Forms nor the terms of the Agreement and Settlement Release
              Forms are a finding or evidence of the validity or invalidity of any claims or
              defenses in the Lawsuit or any wrongdoing by any of the Released Parties or of any
              damage or injury to Plaintiffs.


Executed and agreed to this ___ day of ______________, 2017.


                        [SIGNATURES ON FOLLOWING PAGES]

       PLAINTIFF’S COUNSEL

       _____________________________

       Name: _______________________

       Date: ________________________




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  CHRIS ELLIOTT

  _____________________________

  Date: ________________________




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   RICHARD LARGENT

   _____________________________

   Date: ________________________




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   MARC PIAZZA

   _____________________________

   Date: ________________________




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   KENLY HUNTER

   _____________________________

   Date: ________________________




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Count        HM Name               Gross
         1   ASHPAUGH MICHAEL               $4,669.29
         2   ATKINS FREDRICK                $5,486.71
         3   BADILLO DAVID                  $3,764.60
         4   BAILEY PAUL                    $2,986.18
         5   BAKER WILLIAM                  $1,945.69
         6   BARBER WILSON                   $500.00
         7   BARNUM TAYLOR                 $18,033.99
         8   BARNES STEVE                   $4,433.81
         9   BATES AUBREY                    $500.00
        10   BAUER ROBERT                   $3,892.79
        11   BERNARD KELLY                   $500.00
        12   BLACKBURN TODD                 $2,169.01
        13   BOHR WILLIAM                  $17,605.73
        14   BOSCH TRAVIS                    $500.00
        15   BOWMAN JOSEPH                  $2,123.79
        16   BRADSHAW BRIAN                  $500.00
        17   BROWN CURTIS                    $500.00
        18   BROWN WILLIAM                  $4,433.81
        19   BUCKINGHAM BRANDON              $500.00
        20   BUTIKOFER RONALD               $3,570.32
        21   CAUDILL CODY                   $8,117.20
        22   CERKONEY BRIAN                 $4,517.51
        23   CHIDESTER KEVIN                $2,322.42
        24   COBB MATTHEW                    $500.00
        25   COLE DALE                       $500.00
        26   CONNOR ERIC                    $2,123.79
        27   CONRAD CHRISTIAN                $500.00
        28   CRAFT STEVEN                   $3,874.89
        29   CRALL JERRY                    $9,147.85
        30   DALBERG SETH                    $500.00
        31   DAVIS ZACHERY                  $2,599.29
        32   DEIBERT ALEXANDER              $9,486.49
        33   DICKEY KENNETH                 $3,143.65
        34   DIGERNESS ERIC                  $500.00
        35   EDMISON JAMES                 $13,182.89
        36   EDWARDS SCOTT                   $500.00
        37   ELLIOTT CHRISTOPHER            $1,393.35
        38   EVANS LUIS                      $500.00
        39   FINCH TRUMAINE                  $500.00
        40   GOETZ JR RONNY                 $1,799.25
        41   GOODSON WESLEY                 $5,908.27
        42   GOULD KYLE                     $2,123.79
        43   HAGLER STEVEN                   $500.00
        44   HAMMOND JOHN                   $2,172.01
        45   HANDY COLIN                   $17,330.52
        46   HATTEN KERRY                    $500.00


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Count        HM Name             Gross
        47   HAYS JASON                   $5,462.50
        48   HERSHEY JAMES                $6,691.79
        49   HERSHEY ROBERT              $11,980.69
        50   HETCHLER MARK                 $500.00
        51   HICKMAN WINFRED             $15,636.79
        52   HILL DARREN                 $12,375.57
        53   HINES JIMMY                 $15,179.78
        54   HODOSI ROBERT               $12,279.77
        55   HUNTER KENLY                 $5,425.76
        56   HUTCHINS JEREMIAH            $4,875.10
        57   ISER ROGER                    $500.00
        58   JENKS BRYAN                  $6,856.45
        59   JENNE DONALD                 $3,487.31
        60   JENSEN ANTHONY                $500.00
        61   JENSEN CHARLES               $4,148.54
        62   JORDAN GARY                   $500.00
        63   KAMOE EDWARD                 $2,832.11
        64   KARVONEN JOSEPH               $500.00
        65   KELLER BRET                  $6,627.16
        66   KINSEY TODD                  $3,974.89
        67   KNOWLES DAVID                 $500.00
        68   LAME KENNETH                  $980.17
        69   LANE MARK                     $500.00
        70   LANGSDORF ZACHARY           $31,312.36
        71   LARGENT RICHARD              $4,524.68
        72   LARSON MICHAEL               $2,123.79
        73   LAW DCAMERON                 $6,061.06
        74   LEAHY AMBROSE                 $500.00
        75   LEDET JONATHAN               $5,901.18
        76   LEMKE NICHOLAS               $1,477.00
        77   MARSHALL RICHARD            $15,081.13
        78   MCABEE KEVIN                 $1,957.49
        79   MICKELSEN JEREMY             $4,260.85
        80   MILLER KEVIN                $20,529.63
        81   MINIEAR JAMES                $6,272.66
        82   MITCHELL KHOREY               $779.33
        83   MOORE MITCHELL               $7,097.12
        84   MORGAN ANDREW                 $500.00
        85   MORGAN STEVEN                 $849.76
        86   MOSS THOMAS                  $4,887.69
        87   MULNEIX PHILLIP               $500.00
        88   NABORS JEFFREY              $25,379.54
        89   NIELSON CAL                   $500.00
        90   OBRIEN MAURICE               $9,214.46
        91   OLGIN MARTIN                 $5,055.58
        92   OLHEISER KURT                $2,263.68
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Count         HM Name              Gross
         93   ORNER BRYAN                   $7,164.15
         94   OUTCELT JAKE                  $3,723.55
         95   PADLEY GERALD                $10,412.14
         96   PELLETIER DANIEL              $4,595.86
         97   PIAZZA MARC                   $5,446.01
         98   PIERREUSE OLIVIER             $4,433.81
         99   POWERS JACOB                  $7,658.07
        100   RADFORD JARED                 $5,395.50
        101   READ BENJAMIN                 $2,063.85
        102   REYNA JUAN                     $500.00
        103   RIDER DERODERICK               $500.00
        104   ROBERTSON PETER               $2,123.79
        105   ROSE ADRIAN                   $5,430.47
        106   SANDERS JASON                  $500.00
        107   SCHMIDT JASON T               $3,709.86
        108   SCHONHERR THOMAS               $500.00
        109   SESSIONS ROBERT               $2,123.79
        110   SHARPE LINDSEY                 $500.00
        111   SHOAF AARON                   $7,055.77
        112   SIMONSON JERRY               $10,272.65
        113   SLATER DONALD                  $500.00
        114   SMITH BRANDON                $10,415.52
        115   SMITH LEO                     $2,123.79
        116   SMITH ROYCE                   $4,369.33
        117   STANGER STEVE                  $500.00
        118   STEVENS KELLY                  $500.00
        119   TAYLOR CHRISTOPHER             $500.00
        120   THURGOOD RICK                 $4,433.81
        121   TKACHYK MICHAEL                $500.00
        122   TORRES EBER                   $8,216.47
        123   TUCKER CHARLES                 $500.00
        124   UPSHAW PAUL                   $4,915.97
        125   VALENTINE JAMES               $6,198.31
        126   VANDUSEN RICHARD              $8,517.52
        127   VICENTE PETE                 $22,736.11
        128   WARD RICHARD                  $2,123.79
        129   WARNKE NICK                   $2,517.88
        130   WEBB HILLARY DALE             $2,123.79
        131   WHEATON EVAN                   $500.00
        132   WHEATON MATTHEW               $3,733.57
        133   WHEATON SHAUN                 $1,324.75
        134   WILLIAMS ANTONIO              $4,433.81
        135   WILLIAMS TRACY                $4,433.81
        136   WILLIE ERIC                   $2,123.79
        137   WILSON NATHANIEL              $3,946.47
        138   YAGER JACOB                    $500.00
